
1646 Union, LLC, Respondent,
againstAldena Williams, Appellant, et al., Undertenants.




South Brooklyn Legal Services (Sarah Telson, Regina Gennari and Logan Schiff of counsel), for appellant.
Stern &amp; Stern, Esqs. (David Lyle Stern of counsel), for respondent.

Appeal from an order of the Civil Court of the City of New York, Kings County (Marina C. Mundy, J.), entered August 3, 2015. The order denied tenant's motion for summary judgment dismissing the petition and granted landlord's cross motion for summary judgment in a holdover summary proceeding.




ORDERED that the order is modified by providing that landlord's cross motion for summary judgment is denied and that, upon a review, pursuant to CPLR 409 (b), of the pleadings, papers and admissions, the petition is dismissed, and by further providing that the denial of tenant's motion for summary judgment dismissing the petition is on the ground of mootness; as so modified, the order is affirmed, without costs.
In this holdover proceeding based on a claim that tenant failed to execute a renewal lease (Rent Stabilization Code § 2524.3 [f]), tenant moved for summary judgment dismissing the petition on the ground that the renewal offer was invalid because the rents listed therein were above the legal regulated rent. Landlord cross-moved for summary judgment. Tenant appeals from an order denying tenant's motion and granting landlord's cross motion.
For the reasons stated in 1646 Union, LLC v Simpson ( __ Misc 3d __, 2019 NY Slip Op _____ [appeal No. 2015-2100 K C], decided herewith), the order is modified by providing that landlord's cross motion for summary judgment is denied and that, upon a review, pursuant to [*2]CPLR 409 (b), of the pleadings, papers and admissions, the petition is dismissed, and by further providing that the denial of tenant's motion for summary judgment dismissing the petition is on the ground of mootness.
PESCE, P.J., ELLIOT and SIEGAL, JJ., concur.
ENTER:
Paul Kenny
Chief Clerk
Decision Date: January 18, 2019










